Case 2:09-cr-00045-SRC           Document 199         Filed 10/12/10       Page 1 of 1 PageID: 1780


NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                     :
                                              :         Hon. Dennis M. Cavanaugh
                Plaintiff,                    :
                                              :                 ORDER
                      v.                      :
                                              :         Crim. No. 09-CR-45 (DMC)
MICHAEL BRASSINGTON, PAUL                     :
BRASSINGTON, AND BRIAN                        :
MCKENZIE,                                     :
                                              :
                Defendants.



DENNIS M. CAVANAUGH, U.S.D.J.:

        This matter comes before the Court upon motion by John Kimberling (“Defendant”) for

severance from the within proceedings and transfer to the Southern District of Florida on the grounds

that he is unable to travel for medical and financial reasons. Pursuant to Fed. R. Civ. P. 78, no oral

argument was heard. After considering all submissions and based upon the following;

        IT IS on this __8__ day of October, 2010;

        WHEREAS this Court finds that Defendant suffers from serious medical conditions and is

financially unable to travel to and stand trial in New Jersey; these conditions are beyond Defendant’s

control; the interests of justice require severance and transfer to the Southern District of Florida; and

all parties consenting on the record thereto;

        ORDERED the case against Defendant is severed and transferred to the Southern District

of Florida.

                                                           s/Dennis M. Cavanaugh
                                                        Dennis M. Cavanaugh, U.S.D.J.
Original:       Clerk’s Office
cc:             All Counsel of Record
                File
